Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 1 of 31




                                                                          FILED
                                                         U.S. D l S i R l C T C O U R T
                       IN THE UNITED STATES DISTRICT CO~BIISTRICT    OF C : ? L O R A D o
                           FOR THE DISTRICT OF COLORADO
                                                                  2000HOV -2 PH 1: 33

     UNITED STATES OF AMERICA,




     MIKE LAVALLEE,
     ROD SCHULTZ,
     KEN SHATTO,
     DAVID PRUYNE ,
     ROBERT VERBICKAS,
     BRENT GALL, and
     JAMES BOND

                 Defendants.


                                       INDICTMENT

                          18 U.S.C.    §§   241, 242, and 2


                                        COmT    1

           The Grand Jury for th.e District of Colorado charges that:
                                     Iritroduction

           1.   At all times relevant to this indictment:
                 a.   The United States Penitentiary, Florence, Colorado
                 ("USP-Florence") was a facility operated and controlled
                 by the United States Bureau of Prisons, which is
                 responsible for the custody, control, care, and safety
                 of inmates who have been sentenced to imprisonment for

                 Federal crimes;
                 b.   Defendants MIKE LAVALLEE, ROD SCHULTZ, KEN SHATTO,
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 2 of 31




                     DAVID PRUYNE,          ROBERT V E R B I C K A S ,    BRENT GALL,         and JAMES

                     BOND,     were c o r r e c t i o n a l o f f i c e r s employed a t USP-

                     F l o r e n c e a n d were r e s p o n s i b l e f o r t h e c u s t o d y , c a r e ,

                     and s a f e t y of t h e i n m a t e s a t USP-Florence.

             2.    On o r a b o u t J a n u a r y , 1 9 9 5 a n d c o n t i n u i n g u n t i l on o r

     a b o u t J u l y , 1997, D e f e n d a n t s ,

                                              M I K E LAVALLEE,
                                               ROD SCHULTZ,
                                               KEN SHATTO,
                                              DAVID PRUYNE,
                                            ROBERT VERBICKAS,
                                               BRENT GALL,
                                                   and
                                                 JAMES BOND,

    a l o n g w i t h o t h e r p e r s o n s known a n d unknown t o t h e g r a n d j u r y ,

    w h i l e a c t i n g under c o l o r of t h e laws of t h e United S t a t e s , d i d

    w i l l f u l l y combine, c o n s p i r e , a n d a g r e e w i t h one a n o t h e r a n d w i t h

    o t h e r s t o i n j u r e , oppress, t h r e a t e n , and i n t i m i d a t e inmates a t

    t h e United S t a t e s P e n i t e n t i a r y , Florence, Colorado i n t h e f r e e

    e x e r c i s e and enjoyment of t h e r i g h t s and p r i v i l e g e s s e c u r e d t o

    them by t h e C o n s t i t u t i o n a n d t h e l a w s o f t h e U n i t e d S t a t e s ,

    namely t h e r i g h t n o t t o b e s u b j e c t e d t o c r u e l and u n u s u a l

    punishment.



                      Manner, Means, a n d O b i e c t o f t h e Conswiracv

            3.     I t was t h e o b j e c t o f t h e c o n s p i r a c y t o u n j u s t i f i a b l y

    s t r i k e , k i c k , a s s a u l t , i n j u r e , and p h y s i c a l l y punish r e s t r a i n e d

    o r c o m p l i a n t i n m a t e s a t t h e USP-Florence.
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 3 of 31




           4. It was further part of the conspiracy to falsely justify

     uses of force against inmates by falsifying Bureau of Prison
     Memoranda, fabricating injuries to co-conspirators, and
     fabricating allegations of inmate misconduct.
           5.    It was further part of the conspiracy to threaten
     officers to secure their silence.
           6.    It was further part of the conspiracy to perpetuate an
     environment within the USP-Florence allowing unlawful beatings

     and assaults against inmates to continue indefinitely and with
     impunity.
                                    Overt Acts

           7.    In furtherance of the aforesaid conspiracy and to
     accomplish its objectives, the following overt acts, among

     others, were committed within the State and District of Colorado:

           a.    In or about Spring 1995, defendant MIKE LAVALLEE
                 informed correctional officer David Armstrong and other
                 correctional officers that these officers had the
                 "green light" from a prison authority to "take care of
                 business. "
           b.    In or about Spring 1995, defendant KEN SHATTO told
                 correctional officer David Armstrong that he had
                 entered inmates' cells and struck and beat them.
           c.    During Summer 1995, defendant MIKE LAVALLEE
                 demonstrated to a correctional officer a means of
                 punishing inmates by slamming them to the ground while
                 the inmate was handcuffed.
           d.    During Summer 1995, defendant MIKE LAVALLEE encouraged
                 a correctional officer to conceal future beatings of
                 inmates by falsely claiming in Bureau of Prisons
                 Memoranda that the inmate was pulling away during an
                 escort.
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 4 of 31




           4. It was further part of the conspiracy to falsely justify

     uses of force against inmates by falsifying Bureau of Prison
     Memoranda, fabricating injuries to co-conspirators, and
     fabricating allegations of inmate misconduct.

          5.     It was further part of the conspiracy to threaten

     officers to secure their silence.
           6.    It was further part of the conspiracy to perpetuate an
     environment within the USP-Florence allowing unlawful beatings

     and assaults against inmates to continue indefinitely and with
     impunity.
                                    Overt Acts

          7.     In furtherance of the aforesaid conspiracy and to

     accomplish its objectives, the following overt acts, among

     others, were committed within the State and District of Colorado:

          a.     In or about Spring 1995, defendant MIKE LAVALLEE
                 informed correctional officer David Armstrong and other
                 correctional officers that these officers had the
                 "green light" from prison authorities to "take care of
                 business."
          b.     In or about Spring 1995, defendant KEN SHATTO told
                 correctional officer David Armstrong that he had
                 entered inmates' cells and struck and beat them.

          c.     During Summer 1995, defendant MIKE LAVALLEE
                 demonstrated to a correctional officer a means of
                 punishing inmates by slamming them to the ground while
                 the inmate was handcuffed.

          d.     During Summer 1995, defendant MIKE LAVALLEE encouraged
                 a correctional officer to conceal future beatings of
                 inmates by falsely claiming in Bureau of Prisons
                 Memoranda that the inmate was pulling away during an
                 escort.
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 5 of 31




                In or about Fall 1995, defendant MIKE LAVALLEE and
                correctional officer David Armstrong entered the cell
                of an unidentified inmate and repeatedly struck and
                beat him.
                On or about November 11, 1995, defendant MIKE LAVALLEE
                announced to CO-CONSPIRATORS that they needed to teach
                inmate James Harris a lesson, or words to that effect.

                On or about November 11, 1995, soon after the comments
                described in Overt Act "f" above, defendant MIKE
                LAVALLEE, assaulted inmate James Harris by kneeing him
                in the back and kidneys and striking him while Harris
                was on the ground handcuffed.

                On or about November 11, 1995, defendant MIKE LAVALLEE
                gave a fabricated Bureau of Prisons Mergranda to a
                correctional officer who witnessed the assault on
                inmate James Harris and instructed the officer to sign
                the Memoranda and submit it as true.

                On or about December 1, 1995, defendant MIKE LAVALLEE
                slammed inmate George Herrera's head against a wall
                several times while Herrera was handcuffed.

                In or about 1995, defendant MIKE LAVALLEE and other CO-
                CONSPIRATORS regularly bragged amongst themselves while
                drinking at bars about the beatings they had
                administered to inmates.

                In or about 1995 and 1996, defendant KEN SHATTO told
                correctional officer David Armstrong that he injured
                himself in order to falsely claim that the injury was
                caused by an unidentified inmate which required a use
                of force against the unidentified inmate.
                In or about January 1996, defendants MIKE LAVALLEE, ROD
                SCHULTZ, and other CO-CONSPIRATORS repeatedly struck
                inmate Ronnie Beverly in the body while Beverly was on
                the ground, handcuffed.

               In or about January 1996, defendant MIKE LAVALLEE
               ordered correctional officer Charlotte Gutierrez, who
               had not yet joined the conspiracy, to leave the cell in
               which inmate Ronnie Beverly was being beaten in order
               to maintain the secrecy of the conspiracy.
               In or about January 1996, defendant ROD SCHULTZ
               explained to Charlotte Gutierrez that the members of
               the conspiracy had to be careful about who was watching
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 6 of 31




                them during their assaults on inmates.

                In or about January 1996, defendant MIKE LAVALLEE, and
                other CO-CONSPIRATORS struck and beat inmate Stanford
                Hadley while Hadley was face down on the ground.

                On or about March 9, 1996, defendants MIKE LAVALLEE and
                DAVID PRUYNE placed a burnt piece of paper into a
                locked cell of inmates Ronald Jones and Kerry Love to
                fabricate justification to spray the inmates with fire
                retardant powder.

                On or about March 9, 1996, defendants DAVID PRUYNE and
                MIKE LAVALLEE fabricated Bureau of Prisons Memoranda
                falsely claiming that inmates had set the fire that
                defendant DAVID PRUYNE had in fact set.

                On or about March 12, 1996, defendant ROD SCHULTZ
                slammed inmate Craig Hron into a wall face first while
                Hron was handcuffed.

                On or about March 12, 1996, defendant ROD SCHULTZ
                fabricated Bureau of Prisons Memoranda to falsely claim
                that inmate Hron had pulled away from himduring an
                escort causing injury to SCHULTZ.

                On or about March 12, 1996, defendant ROD SCHULTZ told
                correctional office David Armstrong that he injured
                himself to falsely claim that the injury was caused by
                inmate Hron requiring the use of force against inmate
                Hron.

                On or about March 19, 1996, defendant ROBERT VERBICKAS
                dropped inmate Howard Lane face first on to the floor
                while Lane was handcuffed behind his back and Charlotte
                Gutierrez kicked inmate Lane in the ribs while he was
                handcuffed on the floor.

                On or about March 19, 1996, defendant ROBERT VERBICKAS
                encouraged correctional officer Charlotte Gutierrez to
                injure herself to falsely claim that the injury
                resulted from misconduct by inmate Lane requiring the
                use of force against inmate Lane.

                On or about March 19, 1996, defendant ROBERT VERBICKAS,
                correctional officer Charlotte Gutierrez, and an
                unnamed correctional officer fabricated Bureau of
                Prisons Memoranda to falsely claim that the injury to
                Charlotte Gutierrez was caused by inmate Howard Lane
                and that inmate Lane's injuries were causedby inmate
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 7 of 31




                Lane throwing himself against objects in his cell.

                On or about March 21, 1996, defendants KEN SHATTO and
                BRENT GALL repeatedly struck and beat inmate Felton
                Wiggins while Wiggins was handcuffed.

                In or about early 1996, defendant DAVID PRUYNE struck
                and beat inmate Reginald McCoy after correctional
                officer Charlotte Gutierrez kicked inmate McCoy in the
                testicles.

                In or about Spring 1996, defendant DAVID PRUYNE,
                assisted by an unnamed CO-CONSPIRATOR, repeatedly
                struck and beat an unidentified handcuffed inmate,
                while the unnamed CO-CONSPIRATOR confronted an
                unexpected correctional officer witness to the beating
                by questioning whether that witness had a problem with
                the beating.

          aa.   On or about May 11, 1996, defendant DAVID PRUYNE and
                correctional officer David Armstrong repeatedly struck
                and beat inmate Kevin Gilbeaux.

          bb.   On or about May 20, 1996, defendant ROBERT VERBICKAS
                and correctional officer David Armstrong repeatedly
                struck and beat inmate Keith Overstreet while inmate
                Overstreet was handcuffed.
          CC.   On or about May 20, 1996, defendant ROBERT VERBICKAS
                slammed inmate Keith Overstreet to the ground while
                inmate Overstreet was. handcuffed during an escort to
                the Special Housing Unit.

          dd.   On or about May 20, 1996, defendant ROBERT VERBICKAS
                and correctional officer David Armstrong fabricated
                Bureau of Prison Memoranda to falsely claim that inmate
                Overstreet pulled away from ROBERT VERBICKAS during the
                escort.
          ee.   On or about August 8, 1996, defendant ROD SCHULTZ told
                defendants MIKE LAVALLEE and JAMES BOND, and
                correctional officer David Armstrong that they should
                retaliate against inmate William Turner for his
                repeated requests to be sent to the Administrative
                Maximum Prison facility.
          ff.   On or about August 8, 1996, defendant ROD SCHULTZ
                sharpened the end of a plastic toothbrush and scraped
                his arm with it to cause injury to himself shortly
                after the comments he made described in Overt Act "ee"
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 8 of 31




                 above.
                 On or about August 8, 1996, defendants ROD SCHULTZ,
                 MIKE LAVALLEE and JAMES BOND and correctional officer
                 David Armstrong repeatedly struck and beat William
                 Turner while Turner was in his cell shortly after the
                 conduct described in Overt Act "ee" above.

           hh.   On or about August 8, 1996, defendants ROD SCHULTZ,
                 MIKE LAVALLEE, and JAMES BOND, and correctional officer
                 David Armstrong fabricated Bureau of Prison Memoranda
                 to falsely claim that injuries to ROD SCHULTZ and MIKE
                 LAVALLEE were caused by inmate William Turner which
                 required the use of force against inmate Turner.

           ii.   On or about September 7, 1996, defendant ROD SCHULTZ
                 held Stephen McClay from behind while an unnamed
                 correctional officer struck inmate Stephen McClay while
                 McClay was handcuffed.

                 On or about September 7, 1996, defendant ROD SCHULTZ
                 and correctional officer Charlotte Gutierrez fabricated
                 Bureau of Prisons Memoranda to claim that inmate McClay
                 threw himself against objects in his cell, thereby
                 injuring himself.

           kk.   In or about 1996, defendant MIKE LAVALLEE repeatedly
                 struck and beat an unidentified, handcuffed inmate.
           11.   In or about 1996, defendant DAVID PRUYNE acted as
                 lookout for correctional officer David Armstrong while
                 Armstrong repeatedly struck and beat an unidentified
                 inmate.
                 In or about 1996, defendants ROD SCHULTZ and DAVID
                 PRUYNE assisted correctional officer Charlotte
                 Gutierrez in removing inmate Jamar Phenis from his cell
                 for the purpose of assaulting him.

           nn.   In or about 1996, defendants ROD SCHULTZ and DAVID
                 PRUYNE assisted correctional officer Charlotte
                 Gutierrez as she repeatedly squeezed the testicles of
                 inmate Jamar Phenis while he was handcuffed.

                 In or about 1996, defendant ROD SCHULTZ instructed
                 correctional officer Charlotte Gutierrez on methods of
                 beating an inmate which would not leave any marks or
                 bruises on the inmate's body.
                 In or about Summer 1996, defendant DAVID PRUYNE choked
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 9 of 31




                 an unidentified, handcuffed inmate until the inmate's
                 eyes began to bulge.
                 On several occasions during the scope of the conspiracy
                 defendants ROD SCHULTZ, MIKE LAVALLEE, and other CO-
                 CONSPIRATORS concealed urine or feces in the food trays
                 of.inmates for the purpose of having the inmates
                 consume the urine or feces.

           rr.   In or about 1996 and 1997, defendants MIKE LAVALLEE,
                 ROD SCHULTZ, and other CO-CONSPIRATORS, told
                 correctional officer Charlotte Gutierrez which
                 correctional officers could and could not be trusted
                 with knowledge of the conspiracy.
           SS.   In or about Spring 1997, defendant JAMES BOND saw
                 correctional officer Jake Geiger strike and beat inmate
                 Jose Perez-Amadour and failed to report the beating to
                 USP-Florence or other federal authorities.

           tt.   In or about January 1997, defendants KEN SHATTO and
                 ROBERT VERBICKAS gave cigarettes to inmates to secure
                 their silence and not report that correctional officer
                 Jake Geiger repeatedly struck and beat inmate
                 Christopher Rawls.

           uu.   On or about June 11, 1997, defendants MIKE LAVALLEE and
                 ROBERT VERBICKAS stomped and kicked inmate Ellis Lard
                 while he was on the ground handcuffed and shackled.

          vv.    On or about June 11, 1997, defendant ROBERT VERBICKAS
                 encouraged a correctional officer who witnessed the
                 beating of inmate Lard to conceal knowledge of the
                 beating from investigating authorities.
          WW.    In or about Summer 1997, defendant ROBERT VERBICKAS
                 threatened to harm a correctional officer who witnessed
                 and reported abuse to inmate Lard.

          XX.    In or about 1997, ROBERT VERBICKAS threatened a
                 correctional officer who criticized the assaults on
                 inmates by members of the conspiracy by stating that we
                 might be slow to respond to your next body alarm, or
                 words to that effect, implying that members of the
                 conspiracy would not aid the correctional officer in
                 the event he was attacked by an inmate.
                 On several occasions during the scope of the
                 conspiracy, defendants ROD SCHULTZ and MIKE LAVALLEE,
                 instructed correctional officers to "lie till you die"
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 10 of 31




                 about the abuses committed against inmates.
           zz.   On several occasions during the scope of the conspiracy
                 ROD SCHULTZ, MIKE LAVALLEE, and other CO-CONSPIRATORS,
                 instructed each other that "what starts in segregation,
                 stays in segregation" as a way of reinforcing the
                 agreement amongst themselves to lie to investigating
                 officials regarding assaults against inmates.

           In violation of Title 18, United States Code, Section 241.

                                     COUNT I1

           The Grand Jury for the District        Colorado charges that:
           8.    On or about November 11, 1995, in Florence, Colorado,
     within the District of Colorado, defendants

                                  MIKE LAVALLEE
                                        and
                                   ROD SCHULTZ,

     then employees of the United States Bureau of Prisons, while
     acting under color of the laws of the United States of America,
     aiding and abetting each other, did strike, choke, kick, and beat

     Christopher Harris, an inmate at the United States Penitentiary,

     Florence, Colorado, while Christopher Harris was handcuffed,

     resulting in bodily injury to Christopher Harris, and did thereby
     willfully deprive Christopher Harris of a right secured and
     protected by the Constitution and laws of the United States,

     namely the right not           subjected     cruel and unusual

     punishment.
           In violation of Title 18, United States Code, Sections 242

     and 2.
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 11 of 31




                                                   COUNT I11

             The Grand J u r y f o r t h e D i s t r i c t o f C o l o r a d o c h a r g e s t h a t :

             9.      On o r a b o u t March 1 9 , 1996 i n F l o r e n c e , C o l o r a d o ,

     w i t h i n t h e District of Colorado, defendant

                                            ROBERT VERBICKAS ,

     t h e n a n employee o f t h e U n i t e d S t a t e s Bureau o f P r i s o n s , w h i l e

     a c t i n g u n d e r c o l o r o f t h e laws o f t h e U n i t e d ~ t a f t so f A m e r i c a ,

     a i d i n g a n d a b e t t i n g a c o r r e c t i o n a l o f f i c e r known t o t h e Grand

     J u r y , d i d s t r i k e , c h o k e , k i c k , a n d b e a t Howard Lane, a n i n m a t e a t

     t h e United S t a t e s P e n i t e n t i a r y ,    F l o r e n c e C o l o r a d o , w h i l e Howard

     Lane was h a n d c u f f e d , r e s u l t i n g i n b o d i l y i n j u r y t o Howard Lane,

     a n d d i d t h e r e b y w i l l f u l l y d e p r i v e Howard Lane o f a r i g h t s e c u r e d

     and p r o t e c t e d by t h e C o n s t i t u t i o n and laws of t h e U n i t e d S t a t e s ,

    namely t h e r i g h t n o t t o b e s u b j e c t e d t o c r u e l a n d u n u s u a l

    punishment.

             I n v i o l a t i o n o f T i t l e 1 8 , U n i t e d S t a t e s Code, S e c t i o n s 2 4 2

    and 2 .

                                                   COUNT I V

            The Grand J u r y f o r t h e D i s t r i c t o f C o l o r a d o c h a r g e s t h a t :

             10.     On o r a b o u t March 2 1 , 1 9 9 6 , i n F l o r e n c e , C o l o r a d o ,

    w i t h i n t h e District o f C o l o r a d o , d e f e n d a n t s

                                                 KEN SHATTO
                                                          and
                                                BRENT GALL,
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 12 of 31




      then employees of the United States Bureau of Prisons, while

      acting under color of the laws of the United States of America,
      aiding and abetting each other, did strike, choke, kick, and beat

      Felton Wiggins, an inmate at the United States Penitentiary,

      Florence, Colorado, while Felton Wiggins was handcuffed,
      resulting in bodily injury to Felton Wiggins, and did thereby

      willfully deprive Felton Wiggins of a right secured and protected

      by the Constitution and laws of the United States, namely the
      right not to be subjected to cruel and unusual punishment.

            In violation of Title 18, United States Code, Sections 242

      and 2.

                                       COUNT   v
           The Grand Jury for the District of Colorado charges that:

           11.   On or about May 11, 1996, in Florence, Colorado, within

      the District of Colorado, defendant

                                   DAVID PRUYNE ,

      then an employee of the United States Bureau of Prisons, while

      acting under color of the laws of the United States of America,

      aiding and abetting a correctional officer known to the Grand

      Jury, did strike, choke, kick, and beat Kevin Gilbeaux, an inmate

      at the United States Penitentiary, Florence, Colorado, resulting

      in bodily injury to Kevin Gilbeaux, and did thereby willfully
      deprive Kevin Gilbeaux of a right secured and protected by the

      Constitution and laws of the United States, namely the right not

      to be subjected to cruel and unusual punishment.
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 13 of 31




              I n v i o l a t i o n o f T i t l e 1 8 , U n i t e d S t a t e s Code, S e c t i o n s 2 4 2

      and 2 .

                                                      COUNT VI

             The Grand J u r y f o r t h e D i s t r i c t o f C o l o r a d o c h a r g e s t h a t :

              1 2 . On o r a b o u t May 2 0 , 1 9 9 6 i n F l o r e n c e , C o l o r a d o , w i t h i n

      t h e District of Colorado, defendant

                                              ROBERT VERBICXAS,

      t h e n a n employee o f t h e U n i t e d S t a t e s Bureau o f P r i s o n s , w h i l e

      a c t i n g u n d e r c o l o r o f t h e l a w s o f t h e U n i t e d S t a t e s o f America,

     a i d i n g a n d a b e t t i n g a c o r r e c t i o n a l o f f i c e r known t o t h e Grand

     J u r y , d i d s t r i k e , choke, kick, and b e a t Keith O v e r s t r e e t , a n

      inmate a t t h e United S t a t e s P e n i t e n t i a r y , Florence, Colorado,

     w h i l e K e i t h O v e r s t r e e t was h a n d c u f f e d , r e s u l t i n g i n b o d i l y i n j u r y

     t o Keith O v e r s t r e e t , and d i d thereby w i l l f u l l y d e p r i v e Keith

     O v e r s t r e e t o f a r i g h t s e c u r e d a n d p r o t e c t e d by t h e C o n s t i t u t i o n

     a n d laws o f t h e U n i t e d S t a t e s , namely t h e r i g h t n o t t o b e

     s u b j e c t e d t o c r u e l and unusual punishment.

             I n v i o l a t i o n o f T i t l e 1 8 , U n i t e d S t a t e s Code, S e c t i o n s 2 4 2

     and 2 .

                                                    COUNT V I I

             The Grand J u r y f o r t h e D i s t r i c t o f C o l o r a d o c h a r g e s t h a t :

             13.      On o r a b o u t August 8 , 1996, i n F l o r e n c e , C o l o r a d o ,

     w i t h i n t h e District o f C o l o r a d o , d e f e n d a n t s

                                                MIKE LAVALLEE ,
                                                  ROD SCHULTZ,
                                                       and
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 14 of 31




                                    JAMES BOND,

     then employees of the United States Bureau of Prisons, while

     acting under color of the laws of the United States of America,

     aiding and abetting one another and a correctional officer known

     to the Grand Jury, did strike, choke, kick and beat William

     Turner, an inmate at the United States Penitentiary, resulting in

     bodily injury to William Turner, and did thereby willfully

     deprive William Turner of a right secured and protected by the

     Constitution and laws of the United States, namely the right not

     to be subjected to cruel and unusual punishment.

           In violation of Title 18, United States Code, Sections 242

     and 2.

                                    COUNT VIII

           The Grand Jury for the District of Colorado charges that:

           14.   In or about Summer 1996, in Florence, Colorado, within

     the District of Colorado, defendant

                                  DAVID PRUYNE ,

     then an employee of the United States Bureau of,Prisons, while

     acting under color of the laws of the United States of America,

     did strike, kick, choke, and beat an unidentified inmate at the

     United States Penitentiary, Florence, Colorado while the

     unidentified inmate was handcuffed, resulting in bodily injury to

     the unidentified inmate, and did thereby willfully deprive the

     unidentified inmate of a right secured and protected by the

     Constitution and laws of the United States, namely the right not
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 15 of 31




     to be subjected to cruel and unusual punishment.
           In violation of Title 18, United States Code, Sections 242

     and 2.
                                     COUNT IX

           The Grand Jury for the District of Colorado charges that:

           15.   On or about June 11, 1997, in Florence, Colorado,
     within the District of Colorado, defendants

                                  MIKE LAVALLEE
                                       and
                                ROBERT VERBICKAS,

     then employees of the United States Bureau of Prisons, while acting

     under color of the laws of the United States of America, aiding and

     abetting each other, did strike, choke, kick, and beat Ellis Lard,

     an inmate at the United States Penitentiary, Florence, Colorado

     while Ellis Lard was handcuffed, resulting in bodily injury to

     Ellis Lard, and did thereby willfully deprive Ellis Lard of a right

     secured and protected by the Constitution and laws of the United

     States, namely the right not to be subjected to cruel and unusual              .

     punishment.
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 16 of 31




            I n v i o l a t i o n o f T i t l e 1 8 , U n i t e d S t a t e s Code, S e c t i o n s 2 4 2 a n d




                                                       A TRUE B I L L :




                                                        Foreperson



     THOMAS L . STRICKLAND
     United S t a t e s Attorney



     By:    %ah2                  %
              R o b e r t E . biddans
                                              ~
              A s s i s t a n t ~ ? f i t e dS t a t e s A t t o r n e y


     BILL LANN LEE
     A s s i s t a n t Attorney General
     C i v i l Rights Division




              C i v i l Rights Division
              U.S. Deuartment o f J u s t i c e

     By:   /
           &d
            d&R i c h a r d McNally fl
              T r i a l Attorney
              C i v i l Rights Division
              U.S. Department of J u s t i c e
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 17 of 31




                                                                                             FILED
                                                                                   U.S. E ! s r ? l C T C a u R T
                                                                 DATE:                                        A D0


     DEFENDANT:              Mike Lavallee

     ADDRESS:
                                                                              8Y
                                                                                   %!I!?.                   CLK
     OFFENSE:                Count 1: 18 USC S 241 : Conspiracy Against Rights
                             Counts 2,7-9: 18 USC $$ 242 and 2: Deprivation of Rights Under Color
                             of Law

     PENALTY:                Count 1 : NMT      10     years; NMT $ 250.000 fine, or both;
                             Supervised Release up to 5 years;
                             Counts 2, 7-9: NMT 1   0years; NMT $250.000 fine, or both;
                             Supervised Release up to 5 years

     AGENT:                  Richard Karr, Special Agent
                             FBI

     AUTHORIZED BY: Mark Blumberg, Trial Attorney, Civil Rights Division
                    Richard McNally, Trial Attorney, Civil Rights Division
                    Robert E. Mydans, Assistant U.S. Attorney

     ESTIMATED TIME OF TRIAL:

            five days or less

       X    over five days

            other

     THE GOVERNMENT

            will seek detention in this case

       X    will not seek detention in this case

     The statutory presumption of detention is or is not applicable to this defendant. (Circle one)
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 18 of 31



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                                                                                     U.S. C I q T R I C T COURT
                                                                  DATE:         ~ Tovem%er
                                                                                    P I - 7- [:$,%$.,82ADO

     DEFENDANT:              Rod Schultz
                                                                                              -
                                                                                 2000 HOY 2 P?! 1 : 3 3
                                                                                JAHES X . ?.il,!S?ECKER
                                                                                              CLERK
     ADDRESS:
                                                                                9Y                      OE?. CLK
     OFFENSE:                Count 1: 18 USC 9 241: Conspiracy Against Rights
                             Counts 2,7,9: 18 USC $9 242 and 2: Deprivation of Rights Under Color
                             of Law

     PENALTY:                Count 1: NMT       10      years; NMT $ 250.000 fine, or both;
                             Supervised Release up to 5 years;
                             Counts 2, 7,9: NMT 1    0years; NMT $ 250,000 fine, or both;
                             Supervised Release up to 5 years

     AGENT:                  Richard Karr, Special Agent
                             FBI

     AUTHOEUZED BY: Mark Blurnberg, Trial Attorney, Civil Rights Division
                    Richard McNally, Trial Attorney, Civil Rights Division
                    Robert E. Mydans, Assistant U.S. Attorney

     ESTIMATED TIME OF TRIAL:

            five days or less

       X    over five days

            other

     THE GOVERNMENT

            will seek detention in this case

       X    will not seek detention in this case

     The statutory presumption of detention is or is not applicable to this defendant. (Circle one)

                                                                 00-CR-                     481)
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 19 of 31




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                                                                                 U.S. C I S T ? I C T C O U R T
                                                                  DATE:         WT%kTeef 2,910Bi39A D O

     DEFENDANT:              David Pruyne

     ADDRESS:

                             Count 1: 18 USC 5 24 1: Conspiracy Against Rights3*
                                                                                                      3EP. CLK
     OFFENSE:
                             Counts 5,9: 18 USC $5 242 and 2: Deprivation of Rights Under Color of
                                        Law

     PENALTY:                Count 1: NMT       10     years; NMT $ 250,000 fine, or both;
                             Supervised Release up to 5 years;
                             Counts 5,9: NMT 1    0years; NMT $ 250,000 fine, or both;
                             Supervised Release up to 5 years

     AGENT:                  kchard Karr, Special Agent
                             FBI

     AUTHORIZED BY: Mark Blumberg, Trial Attorney, Civil Rights Division
                    Richard McNally, Trial Attorney, Civil Rights Division
                    Robert E. Mydans, Assistant U.S. Attorney

     ESTIMATED TIME OF TRIAL:

            five days or less

       X    over five days

            other

     THE GOVERNMENT

           will seek detention in this case

       X    will not seek detention in this case

     The statutory presumption of detention is or is not applicable to this defendant. (Circle one

                                                              00-CR-                  481p
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 20 of 31




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                                                                                   US     IST'I    '-   OURT
                                                                 DATE:          ~$sirr&er$r%96,          3 A 0o

     DEFENDANT:              Ken Shatto                                            ZOO0 HGY - 2 PH I: 3 3
                                                                                 J A H E S 2 . i-i:!.iSPEAKER
     ADDRESS:                                                                               CLEA :,

     OFFENSE:                Count 1: 18 USC 5 241 : Conspiracy Against Rights                   DEP. CLK
                             Counts 4,9: 18 USC $5 242 and 2: Deprivation of Rights Under Color of
                                          Law

     PENALTY:                Count 1: NMT       10      years; NXlT $ 250,000 fine, or both;
                             Supervised Release up to 5 years;
                             Counts 4,9: NMT 1    0years; NMT $250.000 fine, or both;
                             Supervised Release up to 5 years

     AGENT:                  Richard Karr, Special Agent
                             FBI

     AUTHORIZED BY: Mark Blumberg, Trial Attorney, Civil Rights Division
                    Richard McNally, Trial Attorney, Civil Rights Division
                    Robert E. Mydans, Assistant U.S. Attorney

     ESTIMATED TIME OF TRIAL:

           five days or less

       X    over five days

           other

     THE GOVERNMENT

           will seek detention in this case

       X    will not seek detention in this case

     The statutory presumption of detention is or is not applicable to this defendant. (Circle one)
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 21 of 31




                                                                                                  FILED
                                                                                       U.S. C I S T R I C T 2 3 ~ 3 ~
                                                                  DATE           NoQ&&&:Z          iijba::rr 2 A DO

     DEFENDANT:              Robert Verbickas
                                                                                    JAHES 2 . ~ : : . ; J ~ ? ~ A K E R
     ADDRESS:                                                                                     CLEZK

     OFFENSE:                Count 1: 18 USC § 241 : Conspiracy Against Rights .PED-"                                CLX
                             Counts 3,6, 8,9: 18 USC §§ 242 and 2: Deprivation of Rights Under
                             Color of Law

     PENALTY:                Count 1: NMT       10      years; NMT $ 250,000 fine, or both;
                             Supervised Release up to 5 years;
                             Counts 3, 6, 8,9: NMT         years; NMT $250.000 fine, or both;
                             Supervised Release up to 5 years

     AGENT:                  Richard Karr, Special Agent
                             FBI

     ACTTHORIZED BY: Mark Blumberg, Trial Attorney, Civil Rights Division
                     Richard McNally, Trial Attorney, Civil Rights Division
                     Robert E. Mydans, Assistant U.S. Attorney

     ESTIMATED TIME OF TRIAL:

            five days or less

       X    over five days

     -other
     THE GOVERNMENT

     -will seek detention in this case
       X    will not seek detention in this case

     The statutory presumption of detention is or is not applicable to this defendant. (Circle one)


                                                                 00-CRm 4 8 1
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 22 of 31




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     DEFENDANT:              Brent Gall

     ADDRESS:
                                                                                                  DE?.   CLK
     OFFENSE:                Count 1: 18 USC 5 24 1: Conspiracy Against h g h t s B Y
                             Count 4: 18 USC $5 242 and 2: Deprivation of Rights Under Color of Law

     PENALTY:                Count 1: NMT       10     years; NMT $ 250,000 fine, or both;
                             Supervised Release up to 5 years;
                             Count 4: NMT 1   0years; NMT $250,000 fine, or both;
                             Supervised Release up to 5 years

     AGENT:                  Richard Karr, Special Agent
                             FBI

     AUTHORIZED BY: Mark Blumberg, Trial Attorney, Civil h g h t s Division
                    Richard McNally, Trial Attorney, Civil Rights Division
                    Robert E. Mydans, Assistant U.S. Attorney

     ESTIMATED TIME OF TRIAL:

            five days or less

       X    over five days

            other

     THE GOVERNMENT

            will seek detention in this case

       X    will not seek detention in this case

     The statutory presumption of detention is or is not applicable to this defendant. (Circle one)
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 23 of 31




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                                                                                     U.S.embet-2,         T COURT
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                                                                  DATE:
     DEFENDANT:              James Bond
                                                                                JAHES 2 . H A N S T E A K E R
                                                                                                   CLERK
     ADDRESS:
                                                                                3Y                         DEP.   CLK
     OFFENSE:                Count 1: 18 USC $ 241: Conspiracy Against Rights
                             Count 7: 18 USC $8 242 and 2: Deprivation of Rights Under Color of Law

     PENALTY:                Count 1: NMT       10      years; NMT $ 250.000 fine, or both;
                             Supervised Release up to 5 years;
                             Count 7, 9: NMT 1   0years; NMT S 250.000 fine, or both;
                             Supervised Release up to 5 years

     AGENT:                  Richard Karr, Special Agent
                             FBI

     AUTHORIZED BY: Mark Blumberg, Trial Attorney, Civil Rights Division
                    Richard McNally, Trial Attorney, Civil Rights Division
                    Robert E. Mydans, Assistant U.S. Attorney

     ESTIMATED TIME OF TRIAL:

            five days or less

       X    over five days

            other

     THE GOVERNMENT

           will seek detention in this case

       X    will not seek detention in this case

     The statutory presumption of detention is or is not applicable to this defendant. (Circle one)
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 24 of 31




                                                                                          FILED
                                                                                      DISTRICT COURT
                               IN THE UNITED STATES DISTRICT c&$$                     IC;T i)? c ? ' - C ~ A D O
                                   FOR THE DISTRICT OF COLORADO

                           00 - CR , 4 8 1
                                                                                2000NOV - 2 PH 1: 34


                                                               9
      Criminal Case No.                                                       J A H E S il,?-?AMSPEAKER
                                                                                          CLi2K
      UNITED STATES OF AMERICA,
                                                                              8Y                     DEP. CLK
             Plaintiff,
      v.

      MIKE LAVALLEE,
      ROD SCHULTZ,
      KEN SHATTO,
      DAVID PRUYNE,
      ROBERT VERBICKAS,
      BRENT GALL,
      JAiiES BOND,

             Defendants.


                                  NOTICE OF RELATED CASE STATUS
                                  PURSUANT TO LOCAL RULE 40.1 (C)



             COMES NOW, The United States of America, by United States Attorney Thomas L.

      Strickland, through Assistant U.S. Attorney Robert E. Mydans, pursuant to provisions of Rule

      40.1 (C) of the Local Rules of Practice, hereby advises the Court and the Clerk of the Court that

      the above-captioned case is related to United States v. David Armstrong, Criminal Case Number

      99-CR-190-D, in that the criminal conduct is the same set of facts and witnesses.

                                                   Respectfilly submitted,

                                                  THOMAS L. STRICKLAND
                                              d n i t e d States Attorney


                                                   By: ROBERT E.
                                                   Assistant United ~ t a t e u t t o r n e y
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 25 of 31



   A 0 83 (Rev 10185)   Summons in a Criminal Case


         United States District Court
               STATE AND                                      DISTRICT OF                 COLORADO


           UNITED STATES OF AMERICA                                       SUMMONS IN A CRIMINAL CASE

                                                                           CASE NUMBER:
           MIKE LAVALLEE,
           ROD SCHULTZ,
           KEN SHATTO,
           DAVID PRUYNE,
           ROBERT VERBICKAS,
           BRENT GALL,
           JAMES BOND


   TO: Mike Lavallee




   X YOU ARE HEREBY SUMMONED                         to appear before the United States District Court at the place, date, and
   time set forth below.

   PLACE                                                                                       COURTROOM         -
                                                                                                              C 202
                    Federal Courthouse
                    1929 Stout Street                                                         DATE AND TIME
                     enver, Colorado
                   8.  Edward Sch,aner                                                       11/16/00     1:30 p.m.
   BEFORE:                         -
                   bl agistrate Jude@
   To answer a(n)
   X INDICTMENT            INFORMATION           COMPWNT             VIOLATION NOTICE             PROBATION VIOLATION PETITION

  Charging you with a violation of Title       18            , United States Code, Section@)          241, 242
                                                                  - ,- - ,,---.-/.:-
                                           PRIOR TO A ~ P E ~ ~ :2-
                                                                  A;.
                                                                                       ---.. -- --ny?,T
                                                                              ,.',,e , FbomAS-C-191.
                                                                             Lr-, ; i ~ i d ~ c FOLLOWS:
  Brief description of offense:                 U.S. *&rid Scr*ii.>:s 2:
                                                U.S. Mxshel zt           1 (l ' Q ! , ,   Room C-326.

  Conspiracy Against Rights; Deprivation of Rights Under Color of Law




                                                                                          11 17,100
                                                                                  Date


  Name and ~ i t l b
                   of Issuing Officer
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 26 of 31



    A 0 83 (Rev 10185)    Sumrnors in a Criminal Case


         United States District Court
                STATE AND                                        DISTRICT OF             COLORADO


            UNITED STATES OF AMERICA                                           SUMMONS IN A CRIMINAL CASE

                                                                               CASE NUMBER:
            MIKE LAVALLEE,
            ROD SCHULTZ,
            KEN SHAlTO,
            DAVID PRUYNE,
                                                                                   DO-CR-                     481D
            ROBERT VERBICKAS,
            BRENT GALL,
            JAMES BOND


   TO: Robert Verbickas



    X YOU ARE HEREBY SUMMONED                           to appear before the United States District Court at the place, date, and
    time set forth below.

    PLACE                                                                                     COURTROOM            -
                                                                                                               C 202
                        Federal Courthouse
                        1929 Stout Street                                                     DATE AND TIME
                         eqver, Colorado
                   *' cdward Srhlaner                                                        11/16/00      1:30 p.m.
   BEFORE:          Magistrate  -
    To answer a(n)
    X INDICTMENT              INFORMATION               COMPLAINT       VIOLATION NOTICE      a PROBATION VIOLATION PETlTlON
   Charging you with a violation of Title         18            , United States Code, Section(s)        241, 242
                                                                   . - . .- --- ,.            --. -"

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                                                             .>                      ,7.-: -:      .-
                                            PRIOR TO APTZ-I.:-.A-.       ;
                                                                         .-I-A'. bbL          JXA   AS FOLLOWS:
   Brief description of offense:                 U.S. Pretrizl .lc:~;izz: c t                  Pmm C-191.
                                                 U.S.M m h d ~i                    /6ly!,      P a m C-326.
   Conspiracy Against Rights; Deprivation of Rights Under Color of Law



            gxhis k M A ~ I S P E A X E ~

   Signature               Offlcer                                                    Date
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 27 of 31




   A 0 83 (Rev 1Cl8.5)    Summons in a Criminal Case
                                                                                                                                                                    -

         United States District Court
                STATE AND                                                 DISTRICT OF                                      COLORADO


           UNITED STATES OF AMERICA                                                                    SUMMONS IN A CRIMINAL CASE

                                                                                                         CASE NUMBER:
           MIKE LAVALLEE,
           ROD SCHULTZ,                                                                                            OC-Cg-                                481
                                                                                                                                                         d!L
           KEN SHATTO,
           DAVID PRUYNE,
           ROBERT VERBICKAS,
           BRENT GALL,
           JAMES BOND


   TO: JAMES BOND



   X YOU ARE HEREBY SUMMONED                              to appear before the United States District Court at the place, date, and
   time set forth below.

   PLACE                                                                                                                            COURTROOM            C 202
                     Federal Courthouse
                     1929 Stout Street                                                                                             DATE AND TIME
                     Denver, Colorado
                         0-Edward Schlatter                                                                                        11/16/00        1:30 p.m.
   BEFORE:               M~P---
                                               '2



   To answer a(n)
   X INDICTMENT               INFORMATlON                COMPLAINT                           VIOLATION NOTICE                                PROBATION VIOLATION PETITION

  Charging you with a violation of Title             18                 , United States Code, Section(s)                                       241. 242


  Brief description o f offense:
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                                                      .L.     r C


                                                     U.S. My.shd ct                                                                ,T(mmC-26.
  Conspiracy Against Rights; Deprivation of Rights Under Color of Law



                         tlork, c. S. Sl::r::: C J U ~
                                                                                                                    Date


  Name and Title of Issuing Officer
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 28 of 31



   A 0 83 (Rev 10185)   Summons in a Criminal Case


        United States District Court
               STATE AND                                               DISTRICT OF                COLORADO


           UNITED STATES OF AMERICA                                                SU&iNIONS IN A CRIlMINAL CASE

                                                                                    CASE NUMBER:
           MIKE LAVALLEE,
           ROD SCHLILTZ,
           KEN SHATTO,
           DAVID PRUYNE,
           ROBERT VERBICKAS,
           BRENT GALL,
           JAMES BOND


   TO: Ken Shatto




   X YOU ARE HEREBY SUMMONED                                  to appear before the United States District Court at the place, date, and
   time set forth below.

   PLACE                                                                                                 COURTROOM        -
                                                                                                                         C 202
                    Federal Courthouse
                    1929 Stout Street                                                                    DATE AND TIME
                    Denver. Colorado



   To answer a(n)
   X INDICTMENT             INFORMAnON                        COMPLAINT       VlOLAnON NOTICE               PROBATION V,OLAnON PETITION

  Charging you with a violation of Title                18            , United States Code, Section(s)         241. 242
                                                                                              ,    -...--,
                                                                                                     ".-.I
                                                                                                   .-A     .IS FOLLOWS:
  Brief description of offense:                          U.S. Pretrial SC-?~XC::,,                         Rgom C-191.
                                                         U.S. Marsh31 ct                                  ,Room (2-326.
  Conspiracy Against Rights; Deprivation of Rights Under Color of Law




               n
                            lA.'f!~sAUNS?:AW~
                           Clerk, U. S. ~ i s r r ; ~p+.,,.   .
                                                                                           Date


  Name and Title of Issuing Officer
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 29 of 31




   A 0 83 (Rev 10185)       Summons in a Criminal Case


        United States District Court
               STATE AND                                                  DISTRICT OF             COLORADO


           UNITED STATES OF AMERICA                                                   SUkMONS IN A CRIi\/IINAL CASE

                                                                                       CASE NUMBER:
           MIKE LAVALLEE,
           ROD SCHULTZ,
           KEN SHATTO,
           DAVID PRUYNE,
           ROBERT VERBICKAS,
           BRENT GALL,
           JAMES BOND


   TO: Rod Schultz



   X YOU ARE HEREBY SUMMONED                                     to appear before the United States District Court at the place, date, and
   time set forth below.

   PLACE                                                                                               COURTROOM        -
                                                                                                                       C 202
                        Federal Courthouse
                        1929 Stout Street                                                              DATE AND TIME
                        Denver. Colorado
                                                                                                      11116100    1:30 p.m.
   BEFORE:

   To answer a(n)
   X INDICTMENT              I7 INFORMAl'ION 0 COMPLAINT                         VIOLATION NOTICE           PROBATION VIOLATION PETITION

  Charging you with a violation of Title                    18           , United States Code, Section(s)     241.242


                                                            U.S. Pretrial S c ~ c i t 2t
                                                                                      z    4
                                                                                           I
                                                                                           .




  Conspiracy Against Rights; Deprivation of Rights Under Color of Law


                         'g k h 8 R ~ ~ A C I N I P U ~ ~ ~
                            C ' O U~. s Cit:i.,,   C',:!d
                        A
  Signature ofisdh Officer                                                                     Date
              Y J[L/C/\
  Name and fitle%f Issuing Offlcer
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 30 of 31




   11083 (Rev 10185)   Summons in a Criminal Case
                                                                                                                                      -

        United States District Court
              STATE AND                                      DISTRICT OF                                COLORADO


           UNITED STATES OF AMERICA                                               SUh4klONS IN A CRI'iMINAL CASE

                                                                                  CASE NUMBER:
           MIKE LAVALLEE,
           ROD SCHULTZ,
           KEN SHATTO,
           DAVID PRUYNE.
           ROBERT VERBICKAS,
           BRENT GALL,
           JAMES BOND


   TO: David Pruyne



   X YOU ARE HEREBY SUMMONED                        to appear before the United States District Court at the place, date, and
   time set forth below.

   PLACE                                                                                                   COURTROOM        -
                                                                                                                          C 202
                   Federal Courthouse
                   i929 Stout Street                                                                      DATE AND TlME
                    enver, Colorado
                       Edward Srhlsrrer                                                                   11/16/00   1:30 p.m.
  BEFORE:         Magistrate
                                       a-

   To answer a(n)
   X INDICTMENT           INFORMATION            COMPLAINT                 VIOLATION NOTICE                  PROBATION VIOLA'I'ION PETITION

  Charging you with a violation of Title       18          , United States Code. Section(s)                      241. 242

                                      P a o R TO APPXAa..--.
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                                                                                                    --FORT AS FOLLOWS:
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                                                                                                        , r a m C-191.
  Brief description of offense:                U.S. Pretrial Sei-;1253 st                               ,Room (2-326.
                                               U.S. M-hd at
  Conspiracy Against Rights; Deprivation of Rights Under Color of Law



                  3k'XS   R MANSPEAKER
                 clerk, U. S. District Ccurf
                                                                                                 Date


  Name and fit19of Issuing Offlcer
Case 1:00-cr-00481-WYD Document 1674-1 Filed 05/23/06 USDC Colorado Page 31 of 31




   A 0 83 (Rev 10185)        Summons in a Criminal Case
                                                                                                                                               -
         United States District Court
                   STATE AND                                              DISTRICT OF                             COLORADO


           UNITED STATES OF AMERICA                                                         SUkfMONS IN A CRIMINAL CASE

                                                                                                CASE NUMBER:
           MIKE LAVALLEE,
           ROD SCHULTZ,
           KEN SHATTO,
           DAVID PRUYNE,
           ROBERT VERBICKAS,
           BRENT GALL,
           JAMES BOND


   TO: BRENT GALL




   X YOU ARE HEREBY SUMMONED                                     to appear before the United States District Court at the place, date, and
   time set forth below.

   PLACE                                                                                                               COURTROOM        -
                                                                                                                                       C 202
                      Federal Courthouse                                                                           -
                      I929 Stout Street                                                                                DATE AND TIME
                              C o ado
                     8.eese~:G,l$Jrh                tcer                                                            11/16/00    1:3Op.m.
  BEFORE:      ,    -Ma~'rateJudge
   To answer a(n)
   X INDICTMENT                      INFORMATION             COMPLAINT              VIOLATION NOTICE                      PROBATION VIOLATION PETITION

  Charging you with a violation of Title                    18           , United States Code, Section(s)                    241. 242
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                                                                                                -r-c-,r-     - - ? o ~ T AS FOLLGV\'S:
  Brief description of offense:                      U.S. Prerri31 S 3 i " i i ~ 3Li                                   b m C-191.
                                                     u.3.MarshJ zt
  Conspiracy Against Rights; Deprivation of Rights Under Color of Law



                         321 1'1:;    2. ~IAN.?EAKER
                         c!erk       U. 5. Distrlcl cctld
                                                                                                           Date

                     -
  Name and Title of Issuing Officer
